                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

REGINALD T. ALLISON, Individually and         Case No.
on Behalf of All Others Similarly Situated,

                      Plaintiff,

              v.

OAK STREET HEALTH, INC., MICHAEL
PYKOSZ, and TIMOTHY COOK,

                      Defendants.




                              CLASS ACTION COMPLAINT
                   FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
       Plaintiff Reginald T. Allison (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by Oak Street

Health, Inc. (“Oak Street” or the “Company”) with the United States (“U.S.”) Securities and

Exchange Commission (“SEC”); (b) review and analysis of press releases and media reports issued

by and disseminated by Oak Street; and (c) review of other publicly available information

concerning Oak Street.

                       NATURE OF THE ACTION AND OVERVIEW

       1.      This is a class action on behalf of persons and entities that purchased or otherwise

acquired Oak Street securities between August 6 2020, and November 8, 2021, inclusive (the

“Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.      Oak Street purportedly operates primary care centers within the United States. Oak

Street claims that it “engages Medicare eligible patients through the use of an innovative

community outreach approach.” The Company claims it contracts with health plans to generate

medical costs savings and realize a return on its investment in primary care. As of December 31,

2020, the Oak Street claims to have operated 79 centers in 16 markets across 11 states, which

provided care for approximately 97,000 patients.

       3.      On November 8, 2021, Oak Street filed its third quarter quarterly report with the

SEC on Form 10-Q for the quarter ended September 30, 2021. Therein, the Company, in relevant

part, disclosed that on November 1, 2021 the Company received a civil investigative demand

(“CID”) from the United States Department of Justice (“DOJ”). According to the CID, the DOJ
was is investigating whether the Company violated the False Claims Act. The CID also requests

documents and information related to the Oak Street’s relationships with “third-party marketing

agents” and Oak Street’s “provision of free transportation to federal health care beneficiaries.”

       4.      On this news, the Company’s share price fell $9.75, or more than 20%, to close at

$37.14 per share on November 9, 2021, on unusually heavy trading volume.

       5.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) that Oak

Street maintained relationships with third-party marketing agents likely to provoke law

enforcement scrutiny; (2) that Oak Street was providing free transportation to federal health care

beneficiaries in a manner that would provoke law enforcement scrutiny; (3) that these activities

may be violations of the False Claims Act; (4) that, as such, Oak Street was at heightened risk of

investigation by the DOJ and/or other federal law enforcement agencies; (5) that, as a result, Oak

Street was subject to adverse impacts related to defense and settlement costs and diversion of

management resources; and (6) that, as a result of the foregoing, Defendants’ positive statements

about the Company’s business, operations, and prospects were materially misleading and/or lacked

a reasonable basis.

       6.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       7.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).
        8.          This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        9.          Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District. In addition, the Company’s principal executive offices are

in this District.

        10.         In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                                 PARTIES

        11.         Plaintiff Reginald T. Allison, as set forth in the accompanying certification,

incorporated by reference herein, purchased Oak Street securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

        12.         Defendant Oak Street is incorporated under the laws of Delaware with its principal

executive offices located in Chicago, Illinois. Oak Street’s common stock trades on the New York

Stock Exchange (“NYSE”) under the symbol “OSH.”

        13.         Defendant Michael Pykosz (“Pykosz”) was the Company’s Chief Executive Officer

(“CEO”) at all relevant times.

        14.         Defendant Timothy Cook (“Cook”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times.
       15.     Defendants Pykosz and Cook (collectively the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money

and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       16.     Oak Street purportedly operates primary care centers within the United States. Oak

Street claims that it “engages Medicare eligible patients through the use of an innovative

community outreach approach.” The Company claims it contracts with health plans to generate

medical costs savings and realize a return on its investment in primary care. As of December 31,

2020, the Oak Street claims to have operated 79 centers in 16 markets across 11 states, which

provided care for approximately 97,000 patients.

                               Materially False and Misleading
                          Statements Issued During the Class Period

       17.     The Class Period begins on August 6, 2020, the day the Company’s stock began

trading on the public market. The previous day, August 5, 2020, Oak Street filed an amendment
to its common stock registration statement (the “Amendment”). Therein, under a section titled

“Our Competitive Advantages,” Oak Street stated:

       Organic, Community-Based Marketing and Patient Recruitment

       We employ a multichannel marketing strategy that goes directly to our target
       customer. We fundamentally control our own destiny and can scale the number of
       centers on our platform rapidly and fill them with any interested patients we attract.

       18.    In the Amendment, under a section titled “Key Factors Affecting Our

Performance,” the Company stated:

       We utilize a proactive strategy to drive growth to our centers. We employ a
       grassroots approach to patient engagement led by our Outreach team and
       supplemented by more traditional marketing, including television, digital and social
       media, print, mail and telemarketing. We leverage our Outreach Team to ensure we
       are connecting with Medicare-eligible patients across a number of channels to make
       them aware of their healthcare choices and the services we offer. These efforts have
       historically included hosting events within our centers and participating in
       community events. Each of our centers has a community room; a space designated
       and available for our patients’ use whenever the center is open. We also utilize this
       space to provide fitness and health education classes to our patients and often open-
       up events to any older adults in the community regardless of their affiliation with
       Oak Street Health. In 2019, we hosted approximately 18,700 local events in the
       communities surrounding our centers. At the present time, we are leveraging our
       community centers as extra waiting room space as needed which allows easier
       social distancing for patients or their companions. We are continuing to leverage
       our community-based marketing approach with less focus on in-person interactions
       and more focus on working with our community partners to identify older adults
       who need our services. It is our belief that the enhanced awareness of the
       importance of managing chronic illnesses as well as patient varied preferences on
       preferred method to interact with providers will continue to drive demand for Oak
       Street Health amongst older adults. The ultimate effect of our marketing efforts is
       increased awareness of Oak Street Health and additional patients choosing us as
       their primary care provider, regardless of whether that patient is covered under MA
       or traditional Medicare. We believe that our outreach efforts also help to grow our
       payor partners’ membership base as we grow our own patient base and help educate
       patients about their choices on Medicare, further aligning our model with that of
       healthcare payers.

       19.    With Respect to the False Claims Act, Oak Street did not claim it was involved in

any wrongdoing, but the Amendment stated:
          We also may be subject to lawsuits under the False Claims Act (the “FCA”) and
          comparable state laws for submitting allegedly fraudulent or otherwise
          inappropriate bills for services to the Medicare and Medicaid programs. These
          lawsuits, which may be initiated by government authorities as well as private party
          relators, can involve significant monetary damages, fines, attorney fees and the
          award of bounties to private plaintiffs who successfully bring these suits, as well as
          to the government programs. In recent years, government oversight and law
          enforcement have become increasingly active and aggressive in investigating and
          taking legal action against potential fraud and abuse.

          20.       On September 16, 2020, Oak Street published a press release titled “Oak Street

Health Reports Second Quarter 2020 Financial Results.” Therein, Oak Street, in relevant part,

stated:

          Oak Street Health, Inc. (NYSE: OSH) (the “Company”), a network of value-based,
          primary care centers for adults on Medicare, today reported financial results for its
          second quarter ended June 30, 2020.

          “We were pleased with our second quarter financial results, which highlighted both
          our strong organic revenue growth and the resiliency of our model despite the
          impact from the COVID-19 pandemic. I credit our team members, all of whom
          acted swiftly to implement adjustments to our operations while maintaining our
          commitment to exceptional patient care,” said Mike Pykosz, Chief Executive
          Officer of Oak Street Health. “Looking forward, we expect the proceeds from our
          recently completed initial public offering to help us execute on our vision of
          extending our value-based care platform to Medicare beneficiaries across the
          country.”

          Second Quarter 2020 Financial Highlights

                   Total revenue was $214.4 million, up 69% year over year
                   The Company cared for approximately 57,500 at-risk patients, representing
                    67% of its total patients
                   Loss from operations was ($24.4) million, compared to ($18.4) million in
                    the second quarter 2019
                   Platform contribution was $19.4 million, up 81% year over year
                   Net loss was ($26.8) million, compared to ($20.3) million in the second
                    quarter 2019
                   Adjusted EBITDA was ($17.6) million, compared to ($16.0) million in the
                    second quarter 2019
                   As of June 30, 2020, the company operated 54 centers, compared to 44
                    centers at June 30, 2019
       “Since the end of the second quarter, we have executed several strategic initiatives,”
       commented Tim Cook, Chief Financial Officer of Oak Street Health. “First, on
       August 6, our successful initial public offering raised $351.7 million in net
       proceeds. Second, on September 1, we announced a strategic collaboration with
       Walmart to bring Oak Street Health centers to three Walmart locations in the
       Dallas-Fort Worth area later this year. Lastly, although COVID-19 caused us to
       temporarily pause new center openings during the second quarter, we are pleased
       to report that we have opened 12 new centers in the last six weeks alone, expanding
       our total footprint to 66 centers.”

       (Footnotes omitted.)

       21.    On September 16, 2020, Oak Street filed its Quarterly Report with the SEC on Form

10-Q for the quarterly period ended June 30, 2020. The Company’s 10-Q was signed by Defendant

Cook and reaffirmed the Company’s financial results previously announced the same day.

       22.    The Company’s Form 10-Q contained certifications pursuant to the Sarbanes-

Oxley Act of 2002 (“SOX”), signed by Defendants Pykosz and Cook, who certified:

       1. I have reviewed this Quarterly Report on Form 10-Q of Oak Street Health, Inc.;

       2. Based on my knowledge, this report does not contain any untrue statement of a
          material fact or omit to state a material fact necessary to make the statements
          made, in light of the circumstances under which such statements were made,
          not misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other financial
          information included in this report, fairly present in all material respects the
          financial condition, results of operations and cash flows of the registrant as of,
          and for, the periods presented in this report;

       4. The registrant’s other certifying officer and I are responsible for establishing
          and maintaining disclosure controls and procedures (as defined in Exchange
          Act Rules 13a-15(e) and 15d-15(e)) for the registrant and have:

              a) Designed such disclosure controls and procedures, or caused such
                 disclosure controls and procedures to be designed under our
                 supervision, to ensure that material information relating to the
                 registrant, including its consolidated subsidiaries, is made known to us
                 by others within those entities, particularly during the period in which
                 this report is being prepared;
               b) Evaluated the effectiveness of the registrant’s disclosure controls and
                  procedures and presented in this report our conclusions about the
                  effectiveness of the disclosure controls and procedures, as of the end of
                  the period covered by this report based on such evaluation; and

               c) Disclosed in this report any change in the registrant’s internal control
                  over financial reporting that occurred during the registrant’s most recent
                  fiscal quarter (the registrant’s fourth fiscal quarter in the case of an
                  annual report) that has materially affected, or is reasonably likely to
                  materially affect, the registrant’s internal control over financial
                  reporting; and

       5. The registrant’s other certifying officer and I have disclosed, based on our most
          recent evaluation of internal control over financial reporting, to the registrant’s
          auditors and the audit committee of the registrant’s board of directors (or
          persons performing the equivalent functions):

               a) All significant deficiencies and material weaknesses in the design or
                  operation of internal control over financial reporting which are
                  reasonably likely to adversely affect the registrant’s ability to record,
                  process, summarize and report financial information; and

               b) Any fraud, whether or not material, that involves management or other
                  employees who have a significant role in the registrant’s internal control
                  over financial reporting.

       23.     On November 9, 2020, Oak Street published a press release titled “Oak Street

Health Reports Third Quarter 2020 Financial Results.” Therein, Oak Street, in relevant part, stated:

       Oak Street Health (NYSE: OSH) (the “Company”), a network of value-based,
       primary care centers for adults on Medicare, today reported financial results for its
       third quarter ended September 30, 2020.

       “Our strong third quarter results were highlighted by 38% growth in at-risk patients,
       57% revenue growth, and the resumption of new center openings, as we opened 13
       centers during the quarter amidst continued uncertainty related to the COVID-19
       pandemic,” said Mike Pykosz, Chief Executive Officer of Oak Street Health.
       “Since the end of the third quarter, we have opened four additional standalone
       centers, including our first locations in New York City and Mississippi, as well as
       the first of three Walmart pilot locations in Texas. Looking ahead, we continue to
       be excited by the ample opportunity to drive continued de novo expansion across
       both new and existing markets, as well as the complementary growth opportunities
       presented by our Walmart collaboration and CMS’ Direct Contracting program.”

       Third Quarter 2020 Financial Highlights
                Total revenue was $217.9 million, up 57% year over year
                Capitated revenue totaled $211.8 million, up 59% year over year
                The Company cared for approximately 59,500 at-risk patients, representing
                 66% of its total patients
                Loss from operations was ($55.3) million, compared to ($31.6) million in
                 the third quarter of 2019
                Platform contribution was $20.1 million, up 387% year over year
                Net loss was ($59.2) million, compared to ($33.4) million in the third
                 quarter of 2019
                Adjusted EBITDA was ($22.8) million, compared to ($28.1) million in the
                 third quarter 2019
                As of September 30, 2020, the Company operated 67 centers, compared to
                 46 centers as of September 30, 2019

       (Footnotes omitted.)

       24.       On November 10, 2020, Oak Street filed its Quarterly Report with the SEC on Form

10-Q for the quarterly period ended September 30, 2020. The Company’s Form 10-Q was signed

by Defendant Cook, and reaffirmed the Company’s financial results previously announced on

November 9, 2020. The Form 10-Q contained certifications pursuant to SOX, signed by

Defendants Pykosz and Cook, substantially similar to the certifications described in ¶ 22, supra.

With respect to marketing, the 10-Q, in relevant part, stated:

       We grow our patient base through our own internal sales and marketing efforts,
       which drives most of our new patient growth, as well as assignments from our MA
       plan partners. We grew our patient base from approximately 80,000 patients as of
       December 31, 2019 to approximately 86,500 as of June 30, 2020. Our growth
       during this period was more modest than we would have anticipated due to the
       measures we took to limit our outreach and marketing activities in response to the
       COVID-19 pandemic (see — Impact of COVID-19 on our Business).

       25.       On March 9, 2021, Oak Street published a press release titled “Oak Street Health

Reports Fourth Quarter 2020 Financial Results.” Therein, Oak Street, in relevant part, stated:

       Oak Street Health, Inc. (NYSE: OSH) (the “Company”), a network of value-based,
       primary care centers for adults on Medicare, today reported financial results for its
       fourth quarter ended December 31, 2020.
“We are incredibly proud of the impact the Oak Street team made on our patients
and communities in 2020 and the accompanied operational and financial results,
and we could not be more excited to continue our performance in 2021 and
beyond,” said Mike Pykosz, Chief Executive Officer of Oak Street Health. “In
2020, we delivered record revenue of $883 million, representing growth of 59%,
despite significant challenges related to the COVID-19 pandemic. We opened a
record 28 new centers during the year, including 12 in the fourth quarter, allowing
us to bring our outstanding quality of care and patient experience to thousands of
new older adults. In addition to our rapid growth, we continued to innovate our care
model to meet our patients’ needs during the pandemic, including deploying
telehealth capabilities, mobilizing and providing last mile food delivery, offering
free COVID-19 testing, and now operating clinics to vaccinate our patients and
communities. In what has been the most challenging year in the history of Oak
Street Health, our results underscore the power of our model, the ingenuity and
agility of our tenacious team, and our commitment to rebuild healthcare as it should
be.”

Mr. Pykosz continued, “Our prospects for 2021 are equally appealing. Our center
cohort performance continues to improve over time, with newer vintages ramping
faster than the already strong center ramps from our earlier vintages. Based on our
continued and consistent strong unit economics in 2020, we will accelerate our pace
of new centers even further in 2021, with a goal of opening 38-42 additional
centers, an increase from the expectations of 25-30 that we communicated
following our initial public offering. As our communities continue to reopen, there
is a tremendous opportunity to re-energize our community outreach model, which
we believe positions us well to deliver a strong year of patient growth. While 2020
was a remarkable year, we are enthusiastic about all that we intend to accomplish
in 2021, further enhancing our leading position in the value-based, primary care
market.”

Fourth Quarter 2020 Financial Highlights

      Total revenue was $248.7 million, up 43% year over year.
      The Company cared for approximately 64,500 risk-based patients,
       representing 66% of its total patients.
      Loss from operations1 was $(90.7) million, compared to $(44.0) million in
       the fourth quarter of 2019.
      Platform contribution2 was $12.1 million, up 397% year over year.
      Net loss1 was $(90.7) million, compared to $(45.9) million in the fourth
       quarter of 2019.
      Adjusted EBITDA3 was $(43.5) million, compared to $(36.2) million in the
       fourth quarter of 2019.
      As of December 31, 2020, the Company operated 79 centers4, compared to
       51 centers as of December 31, 2019.

(Footnotes omitted.)
       26.     On March 10, 2021, Oak Street filed its Annual Report with the SEC on Form 10-

K for the annual period ended December 31, 2020. The Company’s Form 10-Q was signed by

Defendants Pykosz and Cook, and reaffirmed the Company’s financial results previously

announced on March 9, 2020. The Form 10-K contained certifications pursuant to SOX, signed by

Defendants Pykosz and Cook, substantially similar to the certifications described in ¶ 22, supra.

With respect to marketing, the 10-K, in relevant part, stated:

       We employ a multichannel marketing strategy that goes directly to our target
       customer. We fundamentally control our own destiny and can scale the number of
       centers on our platform rapidly and fill them with any interested patients we attract.

                                         *       *       *

       We grow our patient base through our own internal sales and marketing efforts,
       which drive most of our new patient growth, as well as assignments from our MA
       plan partners. We grew our patient base from approximately 79,000 patients as of
       December 31, 2019 to approximately 97,000 as of December 31, 2020. Our growth
       during this period was more modest than we would have anticipated due to the
       measures we took to limit our outreach and marketing activities in response to the
       COVID-19 pandemic (see — COVID-19 Update on our Business).

                                         *       *       *

       We expect to continue to focus on long-term growth through investments in our
       centers, care model and sales and marketing. In addition, we expect our corporate,
       general and administrative expenses to increase in absolute dollars for the
       foreseeable future to support our growth and because of additional costs of being a
       public company.

       27.     On May 10 2021, Oak Street published a press release titled “Oak Street Health

Reports First Quarter 2021 Financial Results.” Therein, Oak Street, in relevant part, stated:

       Oak Street Health, Inc. (NYSE: OSH, or the “Company”), a network of value-based
       primary care centers for adults on Medicare, today reported financial results for its
       quarter ended March 31, 2021.

       “We were pleased with another strong quarter of results. Most importantly, we are
       proud of the impact we made on our patients and our communities, including
       continuing to provide them with outstanding care while also administering over
       150,000 vaccine doses, predominantly to older adults from underserved
       communities,” said Mike Pykosz, Chief Executive Officer of Oak Street Health.
       “In the first quarter we generated revenue growth of 47%. Our execution was
       further highlighted by the opening of seven new centers, including four new
       markets, during the quarter. As of March 31, we operated 86 clinics across 20
       markets in 13 states. Our patient growth in the first quarter demonstrated the
       continued demand for Oak Street Health’s innovative model in all our markets. We
       are encouraged by our early traction with the CMS Direct Contracting program as
       we enrolled approximately 6,500 participants for the April 1st launch and are
       optimistic about the opportunity this program represents over the coming years. We
       remain committed to our mission and are excited about our growth opportunities.”

       First Quarter 2021 Financial Highlights

                Total revenue was $296.7 million, up 47% year over year
                Capitated revenue totaled $291.2 million, up 48% year over year
                The Company cared for approximately 75,500 risk-based patients,
                 representing 69% of its total patients
                Loss from operations was ($63.8) million, compared to ($13.0) million in
                 the first quarter of 2020
                Platform contribution was $36.7 million, up 43% year over year Net loss
                 was ($64.0) million, compared to ($15.4) million in the first quarter of 2020
                Adjusted EBITDA was ($17.4) million, compared to ($8.7) million in the
                 first quarter of 2020
                As of March 31, 2021, the Company operated 86 centers, compared to 54
                 centers as of March 31, 2020

       (Footnotes omitted.)

       28.       On the same day, May 10, 2021, Oak Street filed its Quarterly Report with the SEC

on Form 10-Q for the quarterly period ended March 31, 2021. The Company’s Form 10-Q was

signed by Defendant Cook, and reaffirmed the Company’s financial results announced the same

day. The Form 10-Q contained certifications pursuant to SOX, signed by Defendants Pykosz and

Cook, substantially similar to the certifications described in ¶ 22, supra. The Form 10-Q also stated

the following with respect to marketing:

       We grow our patient base through our own internal sales and marketing efforts,
       which drive most of our new patient growth, as well as assignments from our MA
       plan partners. We grew our patient base from approximately 85,500 patients as of
       March 31, 2020 to approximately 109,500 as of March 31, 2021.
                                         *       *       *

       We expect to continue to focus on long-term growth through investments in our
       centers, care model, and sales and marketing. In addition, we expect our corporate,
       general and administrative expenses to increase in absolute dollars for the
       foreseeable future to support our growth and because of additional costs of being a
       public company.

       29.     On August 9, 2021, Oak Street published a press release titled “Oak Street Health

Reports Second Quarter 2021 Financial Results.” Therein, Oak Street, in relevant part, stated:

       Oak Street Health, Inc. (NYSE: OSH, or the “Company”), a network of value-based
       primary care centers for adults on Medicare, today reported financial results for its
       quarter ended June 30, 2021.

       “We were pleased with another quarter of strong growth in light of continued
       uncertainty navigating the COVID-19 pandemic. We remain committed to our
       patients and communities, as we have throughout the pandemic, and are particularly
       proud of the more than 180,000 vaccine doses we have administered this year to
       predominantly older adults in underserved communities,” said Mike Pykosz, Chief
       Executive Officer of Oak Street Health. “In the second quarter, we generated at-
       risk patient growth of 54% and total revenue growth of 65% and continued our
       national expansion, opening 9 new centers in four new markets. On August 5th, we
       opened our 100th center compared to just 54 when the pandemic began in March
       2020. We did encounter medical cost headwinds during the quarter related to
       COVID-19 hospitalizations, a significant increase in non-acute utilization, and
       historically high medical costs for new patients, resulting in an Adjusted EBITDA
       loss of $53.5 million compared to the low end of our prior guidance of $40.0
       million. However, based on the strong performance across the majority of the
       drivers of business performance, our belief that the increase in medical costs will
       be temporary, and the expectation that we will receive an increase in per patient
       revenue in 2022 based on the increasing disease burden of our patient population,
       we are confident in the economics of our business in 2022 and beyond. Because of
       this confidence, we are increasing our new center guidance from 38-42 to 46-48
       new centers for full year 2021.” Tim Cook, Chief Financial Officer of Oak Street
       Health added, “We recognized revenue and incurred medical claims expense of
       approximately $14.5 million and $19.0 million, respectively, in the second quarter
       related to prior periods. In light of our strong growth, we are increasing our revenue
       guidance for the full year to $1.37 billion to $1.40 billion, representing an increase
       of 5% at the midpoint compared to our prior full year guidance, but we are
       increasing our Adjusted EBITDA loss for the year to a range of $240 million to
       $220 million given the medical cost trends we experienced in the first half of the
       year and the assumed continuation of those costs for the remainder of the year as
       well as the increase in the number of new centers in the second half of 2021.”
       Second Quarter 2021 Financial Highlights

                Total revenue was $353.1 million, up 65% year over year
                Capitated revenue totaled $346.7 million, up 67% year over year
                The Company cared for approximately 88,500 risk-based patients,
                 representing approximately 73% of its total patients
                Net loss was ($100.3) million, compared to ($26.8) million in the second
                 quarter of 2020
                Adjusted EBITDA was ($53.5) million, compared to ($17.5) million in the
                 second quarter of 2020
                As of June 30, 2021, the Company operated 95 centers, compared to 54
                 centers as of June 30, 2020

       (Footnotes omitted.)

       30.       On August 9, 2021, Oak Street filed its Quarterly Report with the SEC on Form 10-

Q for the quarterly period ended June 30, 2021. The Company’s Form 10-Q was signed by

Defendant Cook, and reaffirmed the Company’s financial results announced the same day. The

Form 10-Q contained certifications pursuant to SOX, signed by Defendants Pykosz and Cook,

substantially similar to the certifications described in ¶ 22, supra. With respect to marketing, the

Form 10-Q, in relevant part, stated:

       We grow our patient base through our own internal sales and marketing efforts, which drive
       most of our new patient growth, as well as assignments from our MA plan partners. We
       grew our patient base from approximately 86,500 patients as of June 30, 2020 to
       approximately 122,000 as of June 30, 2021.

                                             *       *      *

       We expect to continue to focus on long-term growth through investments in our centers,
       care model, and sales and marketing. In addition, we expect our corporate, general and
       administrative expenses to increase in absolute dollars for the foreseeable future to support
       our growth and because of additional costs of being a public company.

       31.       The above statements identified in ¶¶ 17-30 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) that Oak Street

maintained relationships with third-party marketing agents likely to provoke law enforcement
scrutiny; (2) that Oak Street was providing free transportation to federal health care beneficiaries

in a manner that would provoke law enforcement scrutiny; (3) that these activities may be

violations of the False Claims Act; (4) that, as such, Oak Street was at heightened risk of

investigation by the DOJ and/or other federal law enforcement agencies; (5) that, as a result, Oak

Street was subject to adverse impacts related to defense and settlement costs and diversion of

management resources; and (6) that, as a result of the foregoing, Defendants’ positive statements

about the Company’s business, operations, and prospects were materially misleading and/or lacked

a reasonable basis.

                           Disclosures at the End of the Class Period

       32.     On November 8, 2021, Oak Street filed its third quarter Quarterly Report with the

SEC on Form 10-Q for the quarter ended September 30, 2021. Therein, the Company, in relevant

part, disclosed:

       On November 1, 2021, the Company received a civil investigative demand
       (“CID”) from the United States Department of Justice. According to the CID, the
       Department of Justice is investigating whether the Company may have violated
       the False Claims Act, 31 U.S.C. §§ 3729-3722. The CID requests certain
       documents and information related to the Company’s relationships with third-
       party marketing agents and related to the Company’s provision of free
       transportation to federal health care beneficiaries and requests information and
       documents related to such matters. We intend to cooperate with the Department
       of Justice and produce information and documentation in response to the CID. We
       are currently unable to predict the outcome of this investigation or whether
       litigation is probable. Regardless of the outcome, this inquiry has the potential to
       have an adverse impact on us due to any related defense and settlement costs,
       diversion of management resources, and other factors.

       (Emphasis added.)

       33.     On this news, the Company’s share price fell $9.75, or more than 20%, to close at

$37.14 per share on November 9, 2021, on unusually heavy trading volume.
                               CLASS ACTION ALLEGATIONS

        34.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired Oak Street securities between August 6, 2020, and November 8, 2021,

inclusive (the “Class”). Excluded from the Class are Defendants, the officers and directors of the

Company, at all relevant times, members of their immediate families and their legal

representatives, heirs, successors, or assigns, and any entity in which Defendants have or had a

controlling interest.

        35.     The members of the Class are so numerous and geographically dispersed so that

joinder of all members is impracticable. Throughout the Class Period, Oak Street’s shares actively

traded on the NYSE. While the exact number of Class members is unknown to Plaintiff at this

time but can be ascertained through appropriate discovery, Plaintiff believes that there are at least

hundreds or thousands of members in the proposed Class. Millions of Oak Street shares were

traded publicly during the Class Period on the NYSE. Record owners and other members of the

Class may be identified from records maintained by Oak Street or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

        36.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        37.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.
       38.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Oak Street; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

       39.        A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                                UNDISCLOSED ADVERSE FACTS

       40.        The market for Oak Street’s securities was open, well-developed and efficient at all

relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, Oak Street’s securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired Oak Street’s securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to Oak Street, and have been damaged thereby.

       41.        During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of Oak Street’s securities, by publicly issuing false and/or misleading statements
and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about Oak Street’s business, operations, and prospects as alleged herein.

       42.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about Oak Street’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed.

                                       LOSS CAUSATION

       43.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       44.     During the Class Period, Plaintiff and the Class purchased Oak Street’s securities

at artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.
                                  SCIENTER ALLEGATIONS

       45.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Oak Street, their control over,

and/or receipt and/or modification of Oak Street’s allegedly materially misleading misstatements

and/or their associations with the Company which made them privy to confidential proprietary

information concerning Oak Street, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE

                          (FRAUD-ON-THE-MARKET DOCTRINE)

       46.     The market for Oak Street’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Oak Street’s securities traded at artificially inflated prices during the Class Period. On

February 12, 2021, the Company’s share price closed at a Class Period high of $64.99 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of Oak Street’s securities and market information

relating to Oak Street, and have been damaged thereby.

       47.     During the Class Period, the artificial inflation of Oak Street’s shares was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading
statements about Oak Street’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of Oak Street and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       48.     At all relevant times, the market for Oak Street’s securities was an efficient market

for the following reasons, among others:

               (a)     Oak Street shares met the requirements for listing, and was listed and

actively traded on the NYSE, a highly efficient and automated market;

               (b)     As a regulated issuer, Oak Street filed periodic public reports with the SEC

and/or the NYSE;

               (c)     Oak Street regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     Oak Street was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

       49.     As a result of the foregoing, the market for Oak Street’s securities promptly

digested current information regarding Oak Street from all publicly available sources and reflected
such information in Oak Street’s share price. Under these circumstances, all purchasers of Oak

Street’s securities during the Class Period suffered similar injury through their purchase of Oak

Street’s securities at artificially inflated prices and a presumption of reliance applies.

       50.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       51.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker
had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Oak

Street who knew that the statement was false when made.

                                         FIRST CLAIM
                      Violation of Section 10(b) of The Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

        52.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        53.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Oak Street’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        54.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Oak Street’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        55.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a
continuous course of conduct to conceal adverse material information about Oak Street’s financial

well-being and prospects, as specified herein.

       56.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Oak Street’s value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Oak Street and its business operations and future prospects in

light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s securities during the Class Period.

       57.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.
       58.     Defendants had knowledge of the misrepresentations and/or omissions of material

facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain

and to disclose such facts, even though such facts were available to them. Such Defendants’

material misrepresentations and/or omissions were done knowingly or recklessly and for the

purpose and effect of concealing Oak Street’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       59.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Oak

Street’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired Oak

Street’s securities during the Class Period at artificially high prices and were damaged thereby.

       60.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems
that Oak Street was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Oak Street securities,

or, if they had acquired such securities during the Class Period, they would not have done so at the

artificially inflated prices which they paid.

        61.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        62.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                        SECOND CLAIM
                         Violation of Section 20(a) of The Exchange Act
                               Against the Individual Defendants

        63.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        64.     Individual Defendants acted as controlling persons of Oak Street within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements which

Plaintiff contends are false and misleading. Individual Defendants were provided with or had

unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were
issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.

        65.    In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        66.    As set forth above, Oak Street and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other members of

the Class against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.
Dated: January 10, 2022   Plaintiff,

                          By: /s/ Marvin A. Miller
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                          Counsel for Plaintiff
               SWORN CERTIFICATION OF PLAINTIFF
       OAK STREET HEALTH, INC. (OSH) SECURITIES LITIGATION


  I, Reginald T. Allison, certify that:

  1.      I have reviewed the Complaint, adopt its allegations, and authorize its filing
          and/or the filing of a lead plaintiff motion on my behalf.

  2.      I did not purchase the Oak Street Health, Inc. securities that are the subject of this
          action                            s counsel or in order to participate in any private
          action arising under this title.

  3.      I am willing to serve as a representative party on behalf of a class and will testify
          at deposition and trial, if necessary.

  4.      My transactions in Oak Street Health, Inc. securities during the period set forth in
          the Complaint are as follows:

          (See attached transactions)

  5.      I have not sought to serve, nor served, as a representative party on behalf of a
          class under this title during the last three years, except for the following:

  6.      I will not accept any payment for serving as a representative party, except to
          receive my pro rata share of any recovery or as ordered or approved by the court,
          including the award to a representative plaintiff of reasonable costs and expenses
          (including lost wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.




________________                          _________________________________________
      Date                                 Reginald T. Allison
